Case 2:11-cv-12422-AC-MKM ECF No. 129-12, PagelD.2136 Filed 07/28/14 Page 1 of 6

EXHIBIT
Case 2:11-cv-12422-AC-MKM ECF No. 129-12, PagelD.2137 Filed 07/28/14 Page 2 of 6

sraaasos7a nestionwide CIPSON, NEILSON, COLE Fax: 248-593-5040 pm. Ber 14 2010 042008 003/007
Dakotas Like try
tas fa and Monty Fenn BENEFICIARY CLAIM FORM
Norn Lis Iraursnce Cotpany of Maris
Nobiosntde Léa ami Arruity Company of America Customer Contact Information
P.O. Box 182835, Colurnbus, OH 43218-2035
Horeisaier rfertix 90 fo the Carppey Natdorwide: 1-800-242-8205
whew. naiorekde. com TOD: 1-800-238-3005
Fane 1-688-677-7383

Section 1: General Information — Please pant . . wee .
Please accept our deepest sympattities for your toss. This form Is designed to cofect Informats

von your igned lormation needed to
IMPORTANT: Sections 1, 2, and 5 must be compteted.

A certified Death Cortiicata bearing the seal of the appropriate locel, state or federal agency lesutn the
cortificate must accompany tvs completed fam, 7

Lach beneficiary must compiete a separate claim form,

To expedita the processing of this claim, you can fax tha compisted clakn é af copy
certitied death certificate to 1-883-677-7392, form png wi a of me

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Existing Poticy Number(s). L.O BY 304 200

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Date of Death: JULY £3 2010

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caittinsen “/) Albert [olfz 310 Telegraph
(PO Box addrans is not accapied) Ste 20O

cysimzp coe Bloombield Hills Mr YE 30)
Mating Adee: SAME AS ABOVE

(f different than residential}

The nexd Section, Settlement Options, providas throes distribution options for

information at i your death benefit procesds.
For mfo about what other options are avellable to
TDD: 1-800-238-3035, you, please call us st 1-800-243-6206 or

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Case 2:11-cv-12422-AC-MKM ECF No. 129-12, PagelD.2138 Filed 07/28/14 Page 3 of 6

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Beclion Z Sattiemant Options Préase seltct one optign
Please Note: Pollgy owners have the option to choosa in advance how thelr beneficiarisa will receive the money.
if drot & the case for you, we'll carry out fhe policy cwners instructions and provide complete dataiis to you in
writing.

(J Option 1 - Lump Sum Payment Option — Nationwide Bank Secure Money Market Account

We will establish a Natlomwide Bank Secure Money Market Ancount in the bensficiary’s name and daposit ail
proceads into the account. You will have immediate access to these proceeds by check and this acogunt wil eam

interest.

Benetts of ths Nationwide Bank Secure Money Market Account:

An atiractive varlabla tiered rate of interest.

A.safe account to hold funds seperate from your everyday funds.

FDIC insurance coverage, up fo $250,000 per depositor.

Fres pamonalized checks provided by Natlonwite Bank.

Dedicated Customer Care Spectalists ready to help you when you call them at 1-377-422-8569.
No monthly service fees.

Tha foflowing fields MUST be completed for the Nationwide Bank Secura Money Market Account option:
Issus State: [1] Driver's Licanes «= {_] Maitay!D © State 1D

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ID
Plasse note: For your protecticn, accounts ara reviawed under US banking niles to confirm eligibility. interest
gamed is reportable to the IRS. Pigasa conault your tax advisor for additonal infoemation.

Option 2— Lump Sum Payment Option — Single Check or Direct Depeait

This option provides a single full payment. You can choose from recalving the desth benef— proceeds sither
in the forma of a check oF have it transferred to your checking of savings account.

Bensiits of a Single Chack:
« One transection acoeas to your money.
« Flewbility to transfer directly into your checking or savings account,
Important: Please select either chack os direct depactt from below.
Check (a check wil be mailed to you using the eddraza entered on page 1, section 1b.)..
Direct Deposit (complete the information and follow the Instructions below).

Financial institution Nama:

Financial institution Phone Number: { }

You must attach a voided check if depositing inta your checking account Hf depasiting into your savings .
socount, a letter from your financial institution wi be required. The deposit info your chockiny gf sevings.adeourt
wil normally ocour four (4} business days after the date the claim transection is processed. Please note deposit

sips sre not acceptable.
tmportent: a vokied check (or Istier from your bank/financial Institution) is rat Included, a check will

automatically bs mailed to the eddresa you provided us. The chacking/eavings accounthoKer must be ths same
aa the beneficiary.

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814 435.0978 Nationwide LIPSON, NEILSON, COLE Fax: 248-583 75040, DG 14 3019 04:200m 20057007

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Section 3: Taxpayer ID Certification: 88 Pes
The Infornal Revenue Service does act requita your consent to any provision
certifications requined to ayald backup withhokiing.

Certification — Under penattias of perjury, I certify thet.

(1) The number shown on this form is my correct taxpayer Kdentification number, and

(2) | am not subject to backup withholding because (a) } have not bean notified that | am subject to bacup
withhokding as a resull of a failure fo report all interest or dividends, or (b) the Internal Revenuo Service has
notified me that am no longer subject to backup withholding, or that | am axempt from backup withholding, and

(3) Lam a United States cillzon (including a US. resident allen}.
You must cross out tem (2) ff you have been notified by the IRS that you are curently subjact to backup
withhoXing becanse of feilure to report Interest of dividends on your lax retum.

Section 4: State Fraud Statements. ee Ee
Albarra, Alaska, Arizona, Georgia, Hawalt, idaho, Hinots, Indiana, lowa, Kentucky, Maryland,
Mataachusetis, Montana, Nebraska, New Hampshira, Mississippi, Ohlo, Oktahoma, Oregon, Puerto Rico,
Rhode Island, South Dakota, Toxas, Utah, Vermont, West Virginia, Wisconsin and Wyoming Any person who
aubmits an application or a claim containing a false or deceptiva statement, and does so with Intent to defraud or
knowing that he/she Is facittating 5 fraud against an ingurer, may bs guilty of tneurance fraud.

Arkansas Any person who knowingly presents a faise or fraudulent ctalm for payment of a loss or benefit or
knowingly presents falee information in an application for insurance is gulity of a crime and may ba subject to fines
and confinement in prison.

Colorado Important Notice: It is untawlul to Knowingly provide feise, incomplete or misieading facts or information
to an insurance company Sor the purpose of defrauding or attempting to defraud the compeny. Penaiies may
Includa Imprisonment, fines, dental of insurance and civil damages. Any insurance company or egent of an
Insurance company who knowingly provides false, incompiete, or misleading tacts or Information to a policyholder
or clainsant for the purpose of defrauding or attempting to defraud the policyholder of claimant with regard to &
sattlement or award payable from insurance proceeds shall be reported to the Colorado division of Insurance
within the department or regulatory agencies. :

District of Cokanbla. Warning: X Is a crime to provide false or misleading Information to an insurer for the
purpese of defrauding tha insurer or any other person. Penalties Include imprisonment and/or fines. In addition,
an insurer may deny insurance bensfits ¥ false Information materlaly reteted to a daim was provided by the

eppiicant

Rovida Any person who knowingly and with Intant to injure, defraud or deceive any inaurer files a statement of
claim or an application containing any felse, incomplete, or misleading information ts guilty of a felony of the third
degrea,

Kansas, Nevada, North Carolina and North Dakota Ay person who submits an application or a calm
containing a false or deceptive statemant, and does 30 with Intent to defraud or knowing that he/she ts faoilitaiing a
fraud against an Inaurer, may be quilty of Ineursnce fraud. .

Loutstena Caution: !f your anewers on this application ere incorrect or untrue, Nationwide has the right to deny
benefits or rescind your pofcy. Any perton who inowingly presents false or frauduient claim for payment of 2 loss
or bereft or knowingly presents faise information in an application for insurance Is guilty of a crime and may be
subject lo fines and confinement in prison. oy

Malne, Tennessee it is a crime to knowingly provide faise, incomplete or midieading information tp an insurance
company for the purpose of defrauding the company. Penalties include imprisonment, fines and dente! of
insurance Denefite.

Missourl Caution: If your anewars on thes application are incorrect or untrue, Natlonwide has ira right to dony
benefits or rescind your poficy. Fraud Statement Any person who submits an application or 2 claim contaming a
fae or decaptve statemant, and does so with intent to defraud or knowing that he/she is facdRating a fraud
against an Insurer, may bé guilty of insurance fraud.

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New Jersey Any person who includes any false or misteading information on an application for an insurance policy
13 subject to criminal and civd penalties.

Now Moxdoo Any person who knowingly presents a fates or fraudulent deim for payment of a lass of beneht or
knowingly presents false Information in an appScation for insurance ix guilty of a crime and may be subject to olvi
fines end criminal penalties.

New York Any parson who knowingly and with intent to defraud any Insurenot company or other parson files on
apptcation for inayrence of statement cf claim containing any matertatly {alse information, or conceals for the
purpose of misieading, information conceming any fact material thereto, commits « freudultent insurance act. which
is a crime, and shall also be subject to a civil penalty not to exceed five thousand dollars and the stated value of
the claim for each such violation.

Pennsyivania Any person who knowingly and with ident to defraud any inaurance company or other peraon Kiss
an eppication for insurance or ststement of daim containing any materially false information or conceals for the
purpose of misiaading, information conosming any fact material thersto commits a fraudulent Insurance act, which
I3 6 crime and subjects such person to orfminal end chil penalties.

Virgints Any parson who, with the Intent to defraud or knowing that he/she Is tactitating a fraud agalnat an insurer,
submits an application or fies 2 claim containing a talee or deceptive xtrtoment may have Wicisted shite law,

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if | selected the Nationvida Bank Secure Money Market Account Option, I understand and agree, by signing this
form thet Nationwide Bank will access and uilliza consumer report informartion to open my gzecount. | authorize my
“| Information to be sted with Nalionwde Bank, for purposes of esteblishing my Secure Money Market Account.
To help the government fight the funding of texroriem and money laundering activities, Federal law requires ail
finencial institutions to obtain, verify, and record infomation that identifies each pesson wie opens 2n account.
What this means for me: When | open an account, Natonwide Bank asks for my name, addreas, date of birth, and
other information that wil allow ther fo Kientify me. Natlonwide Bank may ask to 308 my driver's license or other

identifying documants. . .
{certify under panaities of perjury that af statements are tue, comect and complete to the beat of my knowledge

and befist. | undsrstend that the fumishing of this form by the Company does not constitute an admission that
Lye any insurance in force p ,
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re Date | Soclal Security Numbar
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Signature of Logatty Appointed Guardian Date Minor Beneficiary’ Social Security
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findirdkrel Banedictaty ina minor oe mentaby incompetent person) A certited copy of guardianship pepers must be fumed.
Pieaeo contact our Customer Service Center at 1-600-243-6205 If you have any questions. If you have a
Telecommunications Davice for thre Deaf (TOD), you may socass our TOD servions at 1-800-238-2035, Customer
Services Representatives are avaiable to assist you Monday trough Friday from 3:00 a.m. to 8:00 p.m. EST.

To expedite fre claim process, you may overnight tha completed claim form along with any other 7equired forms}

to the following adidresac
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Dubtin, Ohio 43017

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